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 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    L.C.C., a minor, by and through his        Case No.: 3:20-cv-01489-JM-KSC
      Guardians Ad Litem, LINDSAY
12    CALIHAN, and CHRISTOPHER                   NOTICE OF SETTLEMENT
      CALIHAN, et al.
13
                   Plaintiffs,
14
                   v.
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      UNITED STATES OF AMERICA, et al.
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                   Defendants.
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     TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
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           This Notice of Settlement is filed to notify the Court that Plaintiff L.C.C, a minor,
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     by and through his Guardians Ad Litem, Lindsay Calihan and Christopher Calihan
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     (“Plaintiff”), and Defendants United States of America (“United States”) and Scripps
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     Health dba Scripps Mercy Hospital San Diego erroneously sued as Scripps Mercy Hospital
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     (“Scripps”), through their respective attorneys, have reached a tentative settlement in the
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     above-captioned case. Therefore, the parties request that all future calendared dates be
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     vacated or continued. Furthermore, the parties request a telephonic settlement conference
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     be set in approximately three months to give the parties time to finalize executing
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     settlement agreements and allow the United States time to make a settlement payment.
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     Case 3:20-cv-01489-JM-KSC Document 32 Filed 01/05/22 PageID.142 Page 2 of 2




 1 (Note, because this case is brought against the United States pursuant to the Federally
 2 Supported Health Centers Assistance Act, 42 U.S.C. § 233(g)-(n), any settlement payment
 3 will not come from the United States Judgement Fund, but from a separate fund controlled
 4 by the U.S. Department of Health and Human Services. Experience demonstrates that such
 5 payments take longer than Judgment Fund payments.) The parties will file a joint motion
 6 to dismiss this case after the terms and conditions of the settlement are completed.
 7         DATED:       January 5, 2022            Respectfully submitted, 1
 8
                                                   s/ Brian Keith Findley
 9                                                 Brian Keith Findley
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10                                                 Attorney for Plaintiff
11
12                                                 s/ Katie Kay Schuler
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27         1
                 The filer certifies that authorization has been obtained to place the electronic
28 content of thisalldocument
   signatures of      parties whose electronic signatures appear on this document signifying the
                               is acceptable to all such persons.
                                                 2                             3:20-cv-01489-JM-KSC
